                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

BLACK KNIGHT, INC.,

        Plaintiff,

v.                                               Case No. 3:20-cv-660-TJC-PDB

PENNYMAC LOAN SERVICES,
LLC,

        Defendant.


                       FINAL DECLARATORY JUDGMENT

        For the reasons stated in the Court’s Order of March 22, 2021 (Doc. 37),

Final Declaratory Judgment is hereby entered in favor of Defendant

PennyMac Loan Services, LLC and against Plaintiff Black Knight, Inc.

PennyMac Loan Services, LLC has not waived the right to arbitrate the

antitrust and related claims it filed in PennyMac Loan Services, LLC v. Black

Knight, Inc., No. 2:19-cv-09526-RGK-JEM (C.D. Cal.) against Black Knight,

Inc. All issues raised by the pleadings have been resolved, and thus the Clerk

is hereby ordered to close the file.

        DONE AND ORDERED in Jacksonville, Florida the 29th day of March,

2021.
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Copies:
Counsel of record




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